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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA
                                     NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                             )        MDL NO. 07-1873
FORMALDEHYDE                                                    )
PRODUCT LIABILITY LITIGATION                                    )        SECTION “N-5”
                                                                )
                                                                )        JUDGE ENGELHARDT
                                                                )
THIS DOCUMENT RELATES TO:                                       )        Magistrate Judge Alma L. Chasez
Fountain, et al. v. The United States of                        )
America, et al., 09-3622                                        )
                                                                )

       MEMORANDUM IN SUPPORT OF MOTION TO DISMISS ON BEHALF OF
        CMH MANUFACTURING, INC., SOUTHERN ENERGY HOMES, INC.,
          GILES FAMILY HOLDINGS, INC., GILES INDUSTRIES, INC.,
            SUNRAY RV, LLC, AND SUNRAY INVESTMENTS, LLC

         Defendants CMH Manufacturing, Inc., Southern Energy Homes, Inc., Giles Family

Holdings, Inc., Giles Industries, Inc., SunRay RV, LLC, and SunRay Investments, LLC1 (the

“Defendants”) respectfully submit this memorandum in support of their Motion to Dismiss the

Complaint filed in Fountain, et al. v. The United States of America, et al., 09-3622 (the

“Fountain Complaint” See Doc. No. 1559).

                                               INTRODUCTION

         In its August 1, 2008 Order and Reasons (Rec. Doc. 599) (the “August 1st Order”) this

Court granted the Defendants’ Motion to Dismiss the Administrative Master Complaint (the

“Original AMC”) (Rec. Doc. 259), finding that the plaintiffs lacked standing because “no

plaintiff is matched to any specific Newly-Added Defendant.” See August 1st Order, p. 11.

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  The Fountain Complaint purports to state a claim against “Giles Family Holdings, Inc. and/or Giles Industries,
Inc., and/or Giles Industries of Tazewell, Incorporated” and “SunRay RV, LLC and/or SunRay Investments, LLC.”
Defendants object to this shot-gun pleading to the extent in purports to state distinctively a claim against any of the
Defendants. (See Doc. Nos. 295-2, 379, and 541). Moreover, there is no such entity as Giles Industries of Tazewell,
Incorporated.




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Specifically, this Court held that the Original AMC was “deficient because it fails to include

allegations that any particular plaintiff lived in any particular housing unit or was harmed by a

specific manufacturer of any housing unit.” See August 1st Order, p. 9.2 Because the Fountain

Complaint -- like the Original AMC -- fails to allege that anyone lived in any particular housing

unit or was harmed by a particular manufacturer of any housing unit, it too is deficient and the

Defendants should therefore be dismissed. The Defendants also herein assert many standard

Rule 12 defenses and expressly join in those presented in motions to dismiss filed by other

Defendants. Accordingly, Defendants respectfully request that this Court dismiss them from this

action.

                                 STATEMENT OF MATERIAL FACTS

           For purposes of this motion, the relevant pleading facts are simple and uncontested.

           The Fountain Complaint, filed on March 24, 2009, purports to state a claim against the

United States of America and various manufacturers of travel trailers, park models, and/or

manufactured homes (hereinafter collectively, “housing units”) based upon FEMA supplying the

Plaintiffs’ mother with a housing unit after Hurricanes Katrina and Rita in September 2005. See

Fountain Complaint. Plaintiffs generally allege that the housing unit provided to their mother

contained purportedly high levels of formaldehyde. Id. Remarkably, despite their mother having

only lived in one housing unit, Plaintiffs name seventy-six (76) housing unit manufacturers as

party defendants. The Fountain Complaint does not identify which particular housing unit the

Plaintiffs’ mother resided, or even which particular defendant manufactured the unit. To this

end, the Fountain Complaint does not allege that anyone was harmed by a specific manufacturer

of any housing unit. As such, the Fountain Complaint does not allege that anyone ever resided

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    See also Order dismissing the Laney Complaint (Doc. No. 988) for the same basic deficiency.



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in a housing unit constructed by a Defendant, nor that any act or omission by a specific

Defendant proximately caused anyone harm.

                                  MOTION TO DISMISS STANDARD

         In 2007, the United States Supreme Court significantly altered the standard for federal

courts to use in deciding a motion to dismiss. See Bell Atlantic v. Twombly, 127 S. Ct. 1955

(2007) (“Twombly”). Pre-Twombly, claims were dismissed only if the court found that a plaintiff

could prove “no set of facts” that would entitle him to relief. Conley v. Gibson, 355 U.S. 41, 45-

46 (1957). Twombly retired the Conley “no set of facts” language, Twombly, 127 S. Ct. at 1969

(“[t]he phrase is best forgotten as an incomplete, negative gloss on an accepted pleading

standard.”), and ushered in a new “plausible claim” pleading standard.                        Id. at 1974.       The

Supreme Court held in Twombly that in order to survive a motion to dismiss, a plaintiff cannot

simply set forth conclusory allegations of the bare elements of a cause of action. Id. at 1964-65

(“a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more

than labels and conclusions, and a formulaic recitation of the elements of a cause of action will

not do . . . . Factual allegations must be enough to raise a right to relief above the speculative

level . . . .”) (citations omitted). Instead, “Rule 8(a)(2) still requires a ‘showing,’ rather than a

blanket assertion, of entitlement to relief.” Twombly, 127 S. Ct. at 1965 n.3. A plaintiff must

allege “enough facts to . . . . nudge[] [his] claims across the line from conceivable to plausible”

in order to prevent the dismissal of the complaint. Id. at 1974.3




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  The Fifth Circuit has subsequently embraced Twombly’s “plausible claim” requirement. See e.g., Guidry v.
American Public Life Ins. Co., 512 F.3d 177, 180 (5th Cir. 2007) (“Guidry”) (“The plaintiff must plead ‘enough
facts to state a claim to relief that is plausible on its face’”) (citing Twombly); Samford v. Staples, 249 Fed. Appx.
1001, 1003-04 (5th Cir. 2007) (holding conclusory allegations insufficient to overcome motion to dismiss under
Twombly).



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                                           ARGUMENT

I.       PLAINTIFFS LACK ARTICLE III STANDING TO ASSERT CLAIMS
         AGAINST THE DEFENDANTS.

         As noted above, the Fountain Complaint fails to allege that anyone lived in a specific

housing unit manufactured by a specific Defendant. See Fountain Complaint. What’s more,

Plaintiffs do not allege that anyone suffered any specific physical injury, much less that this

specific injury was proximately caused by a specific Defendant. In sum, the Complaint pleads

absolutely no connection between the Defendants and the Plaintiffs’ mother. Instead, Plaintiffs

attempt to collectively plead against all Manufacturing Defendants, including the Defendants,

various “product liability” claims under the Louisiana Products Liability Act, including failure to

warn and breach of express warranty. As set forth below, all of these claims against the

Defendants should be dismissed.

         In its August 1st Order, this Court found that the named plaintiffs in the Original AMC

failed to satisfy their burden of proof of establishing Article III standing where the plaintiffs

failed to allege that they ever lived in a specific housing unit manufactured by a specific

Manufacturing Defendant:

         Also pertinent to this [standing] inquiry is the Fifth Circuit’s ruling in Audler v.
         CBC Innovis, Inc., 519 F.3d 239 (5th Cir. 2008), wherein the named plaintiffs
         claims against one defendant, with which he had dealings, were dismissed by the
         district court. On appeal, the question for the Fifth Circuit became whether the
         named plaintiff could have Article III standing against the remaining defendants
         with which he had not dealt. The Fifth Circuit found that the named plaintiff
         lacked standing, and dismissed the appeal. Id. at 248. Since the remaining
         defendants had no dealing with the named plaintiff, the Fifth Circuit ruled that the
         class defendants “have caused [the named plaintiff] no cognizable injury.” Id. at
         247. According to the Court, the named plaintiff “lacks standing to bring claims
         against any Defendant other than [the defendant with which he dealt].” Id. Here,
         the named Plaintiffs have similarly not set forth allegations sufficient and specific
         enough to establish that any of them has Article III standing to pursue claims
         against any of the Newly-Added Defendants.



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         Thus, the Court finds that the AMC is deficient because it fails to include
         allegations that any particular plaintiff lived in any particular housing unit or was
         harmed by a specific manufacturer of any housing unit. See Audler, 519 F.3d 239.
         Standing is an irreducible constitutional minimum that is a threshold inquiry to
         adjudication. The Court cannot simply ignore the fact that, at this point in time,
         sufficient facts have not been alleged to show that standing exists.

August 1st Order, p. 9.

         Much like the Original AMC, in the case at bar, Plaintiffs fail allege that anyone ever

lived in a specific housing unit manufactured by a specific Defendant. Similarly, Plaintiffs fail

to allege that anyone was harmed as a proximate result of any action or omission on the part of a

specific Defendant. Obviously therefore, the Foutain Complaint -- like the Original AMC --

does not set forth allegations sufficient and specific enough to establish that Plaintiffs have

Article III standing against any Defendant. As a result, the Plaintiffs have necessarily failed to

satisfy their burden of establishing Article III standing as to the Defendants, and thus this Court

does not have subject-matter jurisdiction over the claims by the Plaintiffs against the Defendants.

II.      INCORPORATION OF ADDITIONAL GROUNDS AND DEFENSES.

             The Defendants herein specifically adopt and join the motions and briefs presented in

motions to dismiss the Fountain Complaint filed by other Defendants and assert the following

additional Rule 12 defenses:

         ·         Failure to State a Claim Upon Which Relief May Be Granted;

         ·         Failure of Service of Process;

         ·         Insufficiency of Service of Process;

         ·         Lack of Personal Jurisdiction;

         ·         Improper Venue;

         ·         Inconvenient Venue;




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         ·      Plaintiffs’ “failure to warn” claim under the Louisiana Products Liability
                Act fails as a matter of law as to the manufactured housing defendants. As
                Plaintiffs’ counsel admits in the AMC, HUD mandated a warning
                concerning formaldehyde exposure and promulgated the text of the
                warning in the Code of Federal Regulations. Under Federal Crop Ins.
                Corp. v. Merrill, 332 U.S. 380 (1947), all persons are charged with
                constructive knowledge of the published federal laws, rules and
                regulations. Under Louisiana Civil Code Article 5, no person may claim
                ignorance of the law. Even if one or more of the Plaintiffs could
                demonstrate that there was no HUD-mandated warning posted in one of
                the manufactured houses, the Plaintiffs’ claim of a failure to warn would
                still fail as a matter of law because they are charged with knowledge of the
                warning in any event because it is published in the Code of Federal
                Regulations.; and

         ·      Federal Rule of Civil Procedure Rule 12(B) Preservation Lists Filed on
                Behalf of Defendants. (Docs. Nos. 518, 787, 951).

                                         CONCLUSION

         The Fountain Complaint is an affront to the threshold constitutional inquiry required by

Article III, directly contrary to this Court’s August 1st Order. The Plaintiffs do not have Article

III standing against the Defendants as the Fountain Complaint fails to allege that any specific

plaintiff lived in any specific housing unit or was harmed by a specific manufacturer of any

housing unit. As a result, the only appropriate action for this Court is to dismiss the Defendants

from this civil action, just as this Court dismissed the Defendants from the Original AMC.

         For all of the foregoing reasons, the Defendants’ Motion to Dismiss should be

GRANTED.



                                              Respectfully submitted by:



                                              /s/ James K. Carroll
                                              James K. Carroll
                                              One of the Attorneys for Defendants



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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 26, 2009, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system which will send a notice of electronic filing to all
counsel of record who are CM/ECF participants. I further certify that I mailed the foregoing
document by first-class mail to all counsel of record who are non-CM/ECF participants.

                                            /s/ James K. Carroll
                                            Of Counsel




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